                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                            KANSAS CITY DIVISION

K.W.P.                                        )
By His Parent and Next Friend,                )
                                              )
              Plaintiff,                      )
                                              )
       v.                                     )       Case No. 16-0974-CV-W-SRB
                                              )
KANSAS CITY PUBLIC SCHOOLS, et al.,           )
                                              )
              Defendants.                     )

                                          ORDER

       On August 1, 2019, the Eighth Circuit reversed and remanded this Court’s decision

denying summary judgment to Defendants Kansas City Public Schools, Brandon Craddock, and

Anne Wallace. The Eighth Circuit’s August 1 Order instructed this Court to enter summary

judgment in all Defendants’ favor. The mandate was issued on October 8, 2019. Accordingly,

this Court hereby grants summary judgment in favor of Defendants Kansas City Public Schools,

Brandon Craddock, and Anne Wallace.

       IT IS SO ORDERED.



                                                  /s/ Stephen R. Bough
                                                  STEPHEN R. BOUGH
                                                  UNITED STATES DISTRICT JUDGE

Dated: November 13, 2019




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